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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

 ------------------------------------------------------------ X
 BABY DOE, A CITIZEN OF AFGHANISTAN                           :   CIVIL ACTION NO. 3:22-cv-49
 CURRENTLY RESIDING IN NORTH                                  :
 CAROLINA, BY AND THROUGH NEXT                                :
 FRIENDS, JOHN AND JANE DOE; AND                              :   AMENDED COMPLAINT
 JOHN AND JANE DOE, CITIZENS OF                               :
 AFGHANISTAN AND LEGAL GUARDIANS                              :
 OF BABY DOE,                                                 :   JURY TRIAL DEMANDED
                                                              :
        Plaintiffs,                                           :
                                                              :
 v.                                                           :
                                                              :
 JOSHUA MAST, STEPHANIE MAST,                                 :
 RICHARD MAST, KIMBERLEY MOTLEY,                              :
 AND AHMAD OSMANI,                                            :
                                                              :
        Defendants,                                           :
                                                              :
 and                                                          :
                                                              :
 UNITED STATES SECRETARY OF STATE                             :
 ANTONY BLINKEN AND UNITED STATES                             :
 SECRETARY OF DEFENSE GENERAL                                 :
 LLOYD AUSTIN,                                                :
                                                              :
        Nominal Defendants.                                   :
                                                              :
 ------------------------------------------------------------ X

        Plaintiffs Baby Doe and John and Jane Doe file this Complaint against Defendants Joshua

Mast, Stephanie Mast, Richard Mast, Kimberley Motley and Ahmad Osmani (collectively,

“Defendants”) and allege as follows:

                                              INTRODUCTION

        1.       This action for conspiracy, tortious interference with parental rights, fraud,

intentional infliction of emotional distress, and false imprisonment arises from a U.S. Marine

Corp Judge Advocate’s unlawful abduction of Baby Doe, an Afghan war orphan, from her


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biological family and legal guardians, Plaintiffs John and Jane Doe. Plaintiffs seek a declaratory

judgment and compensatory and punitive damages.

        2.      Defendants collectively engaged in a fraudulent scheme over the course of nearly

two years to accomplish the abduction of Baby Doe for the purpose of “adoption” by Defendants

Joshua and Stephanie Mast.

        3.      On September 6, 2019, Baby Doe’s parents and five siblings were killed in a U.S.

military operation in rural Afghanistan. She survived and U.S. forces transported her to a military

hospital for emergency medical treatment. Baby Doe, then only two months old, was seriously

injured in the battle.

        4.      In November 2019, while Baby Doe was recovering from her injuries in a U.S.

military hospital in Afghanistan, Defendants Joshua and Stephanie Mast, represented by Defendant

Richard Mast (a member of the Virginia Bar), fraudulently obtained a custody order and an

interlocutory order of adoption over Baby Doe from Virginia courts that they knew, or reasonably

should have known, lacked personal and subject matter jurisdiction over Baby Doe, a citizen of

Afghanistan who had biological family in Afghanistan and had no legal or physical connection to

the United States (the “Fraudulent Custody and Adoption Orders”).1

        5.      Notwithstanding the Fraudulent Custody and Adoption Orders, the U.S.

government in Afghanistan refused to release Baby Doe to Joshua and Stephanie Mast. Instead,

the U.S. government honored its unambiguous federal and international legal obligations to release

her to the government of Afghanistan so that she could be reunited with her next of kin in




        1 The Fraudulent Custody and Adoption Orders include a final order of adoption that the

Masts later obtained.


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Afghanistan. Pursuant to Afghan law, Baby Doe’s first cousin (John Doe) and his wife (Jane Doe)

assumed permanent guardianship over her, loved her, and welcomed her as their first child.

       6.     Undeterred, Joshua and Stephanie Mast engaged the services of Kimberley Motley

to search for and communicate with John and Jane Doe. Motley was aware that Joshua and

Stephanie Mast had obtained the Fraudulent Custody and Adoption Orders for Baby Doe and was

aware from the outset that Joshua and Stephanie Mast wanted to take physical custody of her in

the United States and intended to adopt her as their own child. In coordination with Joshua and

Stephanie Mast, however, Motley never disclosed the Masts’ true intentions to the Does.

       7.     Instead, Motley told the Does only that an American family wanted to help Baby

Doe with her continuing medical needs. Joshua and Stephanie Mast’s primary and undisclosed

intention, however, was to induce John and Jane Doe to bring Baby Doe to the United States to

enable them (one way or another) to acquire physical custody of Baby Doe based on the “authority”

of the Fraudulent Custody and Adoption Orders.

       8.     Despite communicating with John and Jane Doe for more than a year, first through

Kimberley Motley, and eventually both directly and through Ahmad Osmani, Joshua and

Stephanie Mast never revealed to them the Fraudulent Custody and Adoption Orders. Instead,

through their omissions and misrepresentations, Joshua and Stephanie Mast deceived John and

Jane Doe into believing that the Masts’ only interest was in helping Baby Doe access medical care

that was not available in Afghanistan. In reality, however, the Masts’ chief objective was to

consummate their illicit scheme to take Baby Doe from her lawful Afghan parents.

       9.     In August 2021, as a result of this long-running and coordinated fraudulent scheme,

John and Jane Doe brought Baby Doe to the United States for medical care, only to have Joshua

and Stephanie Mast tear her away from the only parents she had known for most of her life.




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       10.     Defendants have caused irreversible harm to an innocent toddler and Plaintiffs John

and Jane Doe. As her true family and legal guardians, they raised Baby Doe for 18 months before

the abduction and love her as their own child. Though this lawsuit can never make them whole,

Defendants must be held accountable for their unconscionable conduct.

                                            PARTIES

       11.     Baby Doe is a three-year-old Afghan citizen whose biological parents died in 2019.

She currently is being held in North Carolina by Joshua and Stephanie Mast.

       12.     John and Jane Doe, citizens of Afghanistan, are a married couple and the legal

guardians of Baby Doe under the laws of Afghanistan. John Doe is the paternal first cousin 2 of

Baby Doe. John and Jane Doe currently reside in Texas.

       13.     Joshua and Stephanie Mast are a married couple, and are United States citizens

claiming domicile in Palmyra, Virginia, but currently residing in North Carolina, where Joshua

Mast is stationed in the United States Marine Corps. Joshua Mast is a Major in the Marine Corps,

a Judge Advocate, and an attorney admitted to the bar of the Commonwealth of Virginia.

       14.     Upon information and belief, Richard Mast is a United States citizen domiciled and

residing in Forest, Virginia. Richard Mast is Joshua Mast’s brother and is also an attorney admitted

to the bar of the Commonwealth of Virginia. Richard Mast is affiliated with an entity named

“Liberty Counsel.”

       15.     Upon information and belief, Kimberley Motley is a United States citizen

domiciled and residing in North Carolina. Upon information and belief, Motley is an attorney

admitted to the bar of the state of Wisconsin and has periodically worked in Afghanistan. Upon




       2 John Doe and Baby Doe share a grandparent.




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information and belief, Motley is the general counsel of Women for Afghan Women, which has a

Community Center in Alexandria, Virginia.

           16.   Upon information and belief, Ahmad Osmani is an Afghan national permanently

residing in Tennessee. Upon information and belief, Osmani is married to Natalie Osmani, a U.S.

citizen.

           17.   United States Secretary of State Antony Blinken and United States Secretary of

Defense General Lloyd Austin are named as nominal defendants, in their official capacities, as

parties who are necessary to this proceeding. Plaintiffs are seeking no relief from them in this

action.

                                    JURISDICTION & VENUE

           18.   This Court has subject matter jurisdiction under 28 U.S.C. § 1332, as the parties are

completely diverse in citizenship, and the amount in controversy, exclusive of costs and interest,

exceeds $75,000.

           19.   This Court also has subject matter jurisdiction under 28 U.S.C. § 1331, and

supplemental subject matter jurisdiction under 28 U.S.C. § 1367, because Plaintiffs’ right to relief

as to Count 1 and their request for declaratory relief necessarily depend on resolution of substantial

questions of federal law.

           20.   All Defendants are subject to personal jurisdiction in Virginia under Virginia Code

§§ 8.01-328.1(A)(1) and (3), because the causes of action asserted in this Complaint arise from

their having transacted business in Virginia and/or having caused tortious injury by an act or

omission in Virginia. Defendants Motley and Osmani also are subject to personal jurisdiction in

Virginia as alleged co-conspirators with Joshua and Stephanie Mast and Richard Mast. As co-

conspirators, Motley and Osmani are liable for the Mast defendants’ acts and omissions in

Virginia, as set forth herein, in furtherance of the conspiracy to enable Joshua and Stephanie Mast


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to abduct Baby Doe. In addition, at the request of Joshua and Stephanie Mast and in furtherance

of the conspiracy, Osmani voluntarily appeared in Virginia to testify on the Masts’ behalf in the

proceeding filed by John and Jane Doe in the Circuit Court of Fluvanna County to vacate that

court’s Fraudulent Adoption Order.

        21.    Venue lies in this Court pursuant to 28 U.S.C. § 1391, as a substantial part of

Defendants’ wrongful conduct occurred in this district.

                                  FACTUAL ALLEGATIONS

I.      BABY DOE’S ORPHANED PAST

        22.    Baby Doe’s biological parents and five of her siblings were killed on September 6,

2019, in Afghanistan, in a joint United States and Afghan military operation in the course of which

their home was destroyed. Baby Doe sustained serious injuries, including a fractured skull and

femur, and second-degree burns. U.S. military forces discovered Baby Doe in the rubble and

immediately transported her to a nearby U.S. military hospital for urgent surgical and medical care.

She was then transferred to                   on September 25, 2019, at which time her condition

stabilized.

        23.    The International Committee of the Red Cross (“ICRC”) is the organization

authorized to care for children who are orphaned during wartime and to assist with family

reunifications under the Geneva Convention Relative to the Protection of Civilian Persons in Time

of War of August 12, 1949 (“The Fourth Geneva Convention”). The U.S. military informed ICRC

that Baby Doe was in its custody, and ICRC began searching for her family.

        24.    The ICRC has worked for over one hundred years in conflict areas and

humanitarian disasters to reunite separated family members through its “Restoring Family Links

Program.” ICRC and the national Red Cross and Red Crescent societies are universally recognized




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as    experts    in   family   tracing   and     reunification.   See   https://www.brookings.edu/wp-

content/uploads/2016/06/0119_internal_displacement_complete.pdf, p, 332.

        25.      By October 25, 2019, ICRC made contact with Baby Doe’s uncle, who requested

ICRC’s assistance in reuniting her with her family.

II.     JOSHUA AND STEPHANIE MAST, WITH THE HELP OF THEIR ATTORNEY,
        RICHARD MAST, TOOK STEPS TO BLOCK BABY DOE’S REUNIFICATION
        WITH HER BIOLOGICAL FAMILY IN AFGHANISTAN AND TO ADOPT HER.

        A.       Through fraud and misrepresentation, Joshua and Stephanie Mast and
                 Richard Mast obtained an Order of Custody and Interlocutory Order of
                 Adoption over Baby Doe from Virginia courts.

        26.      Through his position as a Captain Judge Advocate in the United States Marine

Corps deployed in Afghanistan, Joshua Mast learned of Baby Doe while she was in the custody of

the Department of Defense (the “DoD”) and under the care of the Military Health System,.

        27.      Upon information and belief, Joshua and Stephanie Mast and Richard Mast were

aware that ICRC would be searching for Baby Doe’s biological family in Afghanistan.

        28.      In spite of this knowledge, the Masts began taking steps to remove Baby Doe to the

United States.

        29.      Joshua Mast is an attorney, barred in Virginia, who served at the Center for Law

and Military Operations, and whose responsibilities in Afghanistan included collection and

analysis of data on targeting, collateral damage estimation, and civilian casualty response in an

active combat zone.       As an attorney and member of the United States’ Armed Forces in

Afghanistan, it was his professional responsibility to be aware of Afghanistan’s status as a

sovereign nation, and of the Security and Defense Cooperation Agreement Between the Islamic

Republic of Afghanistan and the United States of America (the “Bilateral Agreement”) that

governed U.S. military operations in Afghanistan.




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       30.     As a U.S. military attorney, Joshua Mast knew, or should have known, that the

Bilateral Agreement governed the U.S. military presence in Afghanistan, and that all U.S. military

operations in Afghanistan were conducted under its auspices. Moreover, he was aware the

Bilateral Agreement specifically recognized Afghan sovereignty and limited the Afghan

Government’s jurisdiction only over active-duty U.S. Armed Forces and DoD civilian employees;

the Bilateral Agreement did not limit Afghanistan’s jurisdiction over Afghan nationals in

Afghanistan.

       31.     As a U.S. military attorney, Joshua Mast knew, or should have known, that all

obligations of the United States and Afghanistan under the Bilateral Agreement were “without

prejudice to Afghan sovereignty over its territory,” and that U.S. Armed Forces personnel and

DoD civilian employees were obligated to “respect the Constitution and laws of Afghanistan.”

Bilateral Agreement, Articles 3:1, 3:2.

       32.     As a U.S. military attorney, Joshua Mast knew, or should have known, that U.S.

military bases under the Bilateral Agreement are not U.S. territory.        Indeed, the Bilateral

Agreement is explicit that “Afghanistan has full sovereignty over its airspace, territory, and

waters.” Bilateral Agreement, Article 10:1. Joshua Mast was also aware that even if Baby Doe’s

identity was unknown, her nationality would be determined under Afghan law. Accordingly, he

knew, or should have known, that Baby Doe, as a civilian in Afghanistan, was subject solely to

the sovereign jurisdiction of Afghanistan for the entire time she was in the care of U.S. military

hospitals.

       33.     As a U.S. military attorney working in Afghanistan, Joshua Mast knew, or should

have known, that under Article 12 of Afghanistan’s law on citizenship, if a child is found in the

territory of Afghanistan and “his/her parents’ documents proving their citizenship are not




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available,” the child is considered a citizen of Afghanistan. See United Nations High Commission

for Refugees, Law on Citizenship of the Islamic Emirate of Afghanistan (English Translation),

Article 12 (June 24, 2000), available at http://www.refworld.org/pdfid/404c988d4.pdf; see also

Athayi, Abdullah, Report on Citizenship Law: Afghanistan, Robert Schuman Centre for Advanced

Studies,     European   University    Institute   (March     2017),   at   p.   9,   available    at

https://cadmus.eui.eu/bitstream/handle/1814/45933/GLOBALCIT CR 2017 09. pdf.

       34.      As a U.S. military attorney working in Afghanistan, Joshua Mast knew, or should

have known, that regardless of where in Afghanistan Baby Doe was recovered, all territory within

the internationally recognized borders of Afghanistan was subject to the jurisdiction of the laws of

Afghanistan. Bilateral Agreement, Article 10:1.

       35.      On information and belief, these basic, uncontroversial principles of national

sovereignty were not only known to Joshua Mast but were core obligations of his practice while

serving as an attorney in the U.S. Marines in Afghanistan.

       36.      On information and belief, Joshua Mast also knew that the ICRC was actively

searching for Baby Doe’s family, and he knew that, as Baby Doe was recovered from a remote

area of Afghanistan, this process would be labor- and time-intensive.

       37.      Virginia-barred lawyers like Joshua Mast and Richard Mast are expected to

“conform to the requirements of the law, both in the professional service to clients and in the

lawyer’s business and personal affairs.” Virginia Rules of Professional Conduct, Preamble.

Virginia-barred lawyers also are expected to “use the law’s procedures only for legitimate purposes

and not to harass or intimidate others.” Id. Further, lawyers are expected to “provide competent

representation to a client,” which “requires the legal knowledge, skill, thoroughness and




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preparation reasonably necessary for the representation.” Virginia Rules of Professional Conduct,

1.1.

       38.      A myriad of national and state laws governs international adoptions in the United

States. In the case of an orphaned child in Afghanistan sought to be adopted in Virginia, the laws

of the United States and Virginia require that prospective adoptive parents follow the laws of the

Government of Afghanistan.

       39.      As Virginia attorneys, Joshua Mast and Richard Mast knew, or should have known,

that they would need to comply with the applicable laws of Afghanistan, the United States, and

Virginia.

       40.      As such, U.S. law requires that, before a child in Afghanistan can be adopted by

someone in the United States, legal guardianship or custody must be obtained over the child in

Afghanistan.3

       41.      Afghanistan’s laws, however, expressly prohibit the guardianship or custody of

Muslim Afghan children by non-Afghan non-Muslims.

       42.      Joshua and Stephanie Mast are not Muslim and are not Afghan nationals.



3 U.S. Department of State, Adoption of Children from Countries in which Islamic Shari’a Law is

Observed           (last     updated         October       30,       2018),       available      at
https://travel.state.gov/content/travel/en/Intercountry-Adoption/Adoption-Process/how-to-
adopt/adoption-of-children-from-countries-sharia-law.html;
https://web.archive.org/web/20171203170646/https:/travel.state.gov/content/travel/en/Intercount
ry-Adoption/Intercountry-Adoption-Country-Inforrnation/Afghanistan.html. See also 8 C.F.R. §
204.3(d)(1)(iv) (international adoption cannot proceed without “[e]vidence of adoption abroad or
that the prospective adoptive parents have ... custody of the orphan for emigration and adoption in
accordance with the laws of the foreign-sending country”); Va. Code Ann. § 63.2-1200.1 (applying
the law of the Commonwealth to recognize foreign adoptions which were “finalized pursuant to
the laws of the country from which the child was adopted” pending admission to the United States
and issuance of a visa by USCIS). 8 C.F.R. § 204.3(b) defines a “foreign-sending country” as the
“country of the orphan’s citizenship, or if he or she is not permanently residing in the country of
citizenship, the country of the orphan’s habitual residence.”


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        43.    Despite lacking any legitimate legal basis for doing so, in October 2019 Joshua and

Stephanie Mast initiated custody proceedings for Baby Doe in the Juvenile and Domestic Relations

Court of Fluvanna, Virginia (the “Juvenile Court”) and adoption proceedings in the Fluvanna

Circuit Court (the “Circuit Court”), despite the fact that Baby Doe had never stepped foot on

Virginia soil and remained in Afghanistan. Richard Mast represented Joshua and Stephanie Mast

in these proceedings.

        44.    Joshua and Stephanie Mast initiated these proceedings in their county of residence,

even though: (a) they had not obtained legal guardianship of Baby Doe in Afghanistan; (b) Baby

Doe had lived her entire life in Afghanistan; (c) Afghanistan had sole and exclusive jurisdiction

over Baby Doe; and (d) Baby Doe had no connection with the United States or Virginia.

        45.    By failing to serve notice of the custody and adoption proceedings on the DoD,

which was Baby Doe’s “physical” and “legal” custodian at the time, the Masts violated Virginia

law.4

        46.    Joshua and Stephanie Mast, through Richard Mast as counsel, advised both the

Juvenile Court and the Circuit Court that they expected the Government of Afghanistan to waive

its jurisdiction over Baby Doe. In fact, the Government of Afghanistan explicitly asserted its

jurisdiction over the child and requested, and then secured, her release from the U.S. military

facility.



4 DoD had physical custody of Baby Doe at the time of the custody proceeding and the initiation

of the adoption proceeding, requiring Joshua and Stephanie Mast and their lawyer, Richard Mast,
to provide DoD notice of those proceedings. Va. Code Ann. § 20-146.16 (“Before a child’s
custody determination is made under this act, notice and an opportunity to be heard in accordance
with the standards of § 20-146.7 must be given to . . . any person having physical custody of the
child.”) (emphasis added); see also Va. Code Ann. § 63.2-1202(L) (“A legal custodian of a child
being placed for adoption . . . shall be entitled to proper notice of any adoption proceeding and an
opportunity to be heard.” (emphasis added)).


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       47.     The Masts also falsely claimed to both the Juvenile Court and the Circuit Court that

Baby Doe’s birth country and nationality were unknown, that she was a “stateless minor,” and that

she, therefore, was subject to the Virginia courts’ jurisdiction because no other court would have

jurisdiction. The Masts knew or should have known these claims were untrue.

       48.     At the same time, they claimed to have asked the Government of Afghanistan to

waive jurisdiction over Baby Doe, thereby acknowledging Afghanistan’s jurisdiction in the first

place. In fact, Baby Doe was never stateless. Under the laws of Afghanistan, any child found in

the territory of Afghanistan whose parents’ nationality is unknown is considered a citizen of

Afghanistan. 5 Baby Doe was found in Afghanistan, and, to the extent her deceased parents’

nationality could not be proven, she was deemed under the laws of Afghanistan to be an Afghan

citizen. The Masts knew, or should have known, that Baby Doe’s nationality was Afghan under

Afghan law.

       49.     On November 6, 2019, relying on the factual and legal misrepresentations made by

the Masts, and without serving the requisite process on the DoD , the Juvenile Court mistakenly

concluded that it had jurisdiction over the case under Virginia Code §§ 20-146.12(A)(2) and (4)

and granted the Masts temporary custody of Baby Doe.6

       50.     To reach this conclusion under subsection (A)(2), the Court was required to have

found that a court of the home state of the child had declined jurisdiction. As discussed above, the




5  Law on Citizenship of the Islamic Emirate of Afghanistan, 24 June 2000,
https://www.refworld.org/docid/404c988d4.html, accessed March 27, 2022 (“Article Twelve: If a
child is found in the territory of the IEA [Afghanistan] and his/her parents’ documents proving
their citizenship are not available, the child would be considered citizen of the IEA.”)
6  This custody order was not permanent and would expire approximately one year from the day
it was issued if the Juvenile Court did not renew it.


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Government of Afghanistan had jurisdiction, and had explicitly asserted jurisdiction over Baby

Doe for reunification with her real family.

       51.     Also under subsection (A)(2), the Court was required to have found that both the

child and a person acting as a parent had a significant connection to the Commonwealth of

Virginia. Yet, Baby Doe had no connection to Virginia and Joshua Mast was a stranger to her.

He had no caretaking responsibilities, rights, or bonds of affection that would constitute a parent-

child relationship. Only misrepresentations by the Masts could have led the Court to conclude

otherwise.

       52.     Finally, under subsection (2), the Court was required to have found that substantial

evidence was available in this Commonwealth concerning the child’s care, protection, training,

and personal relationships. The Masts knew or should have known that such evidence would be

in Afghanistan and made available to the ICRC and the Afghan government’s Ministry of Labor

and Social Affairs, not the Masts.

       53.     Two days later, Stephanie Mast appeared before the Circuit Court, represented by

her brother-in-law, Richard Mast. Relying on the same, and additional, factual and legal

misrepresentations, the Circuit Court issued an Order directing the State Registrar of Virginia to

issue a Certificate of Foreign Birth for Baby Doe on an expedited basis for the purpose of obtaining

medical care. Stephanie Mast had never met Baby Doe, and had no firsthand knowledge of Baby

Doe’s parents’ identities, her nationality, or even her medical needs.

       54.     Another two days later, Sunday November 10, 2019, Stephanie Mast appeared

before the Circuit Court, again represented by Richard Mast. The Circuit Court issued an

Interlocutory Order of Adoption that same day, designating Joshua and Stephanie Mast as Baby

Doe’s father and mother.




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          55.   That same day, Stephanie Mast presented the Interlocutory Order of Adoption and

an application for a Certificate of Foreign Birth to the State Registrar, who promptly issued it,

designating Joshua and Stephanie Mast as Baby Doe’s father and mother. Richard Mast arranged

Stephanie Mast’s meeting with the State Registrar.

          B.    Relying on their fraudulently obtained Virginia state court orders, the Masts
                sought to prevent the United States from releasing Baby Doe to her biological
                family.

          56.   On October 24, 2019, Baby Doe’s maternal uncle submitted a request to the ICRC

through its Restoring Family Links Program for assistance in returning Baby Doe to her extended

family.

          57.   On November 17, 2019, the Afghan Ministry of Labor and Social Affairs

documented its official involvement in the search for Baby Doe’s biological family.

          58.   The ICRC worked to verify the family’s relationship with Baby Doe and facilitated

the family’s contact with the Afghan government. The ICRC’s efforts to reunite Baby Doe with

her biological family came to fruition when it located her paternal uncle, John Doe’s father. Under

the laws of Afghanistan (like the laws in many other Muslim countries), legal guardianship of an

orphan is transferred to the child’s paternal uncle (in the absence of a paternal grandfather or a

brother).

          59.   In late December 2019 or early January 2020, the Afghan Deputy Minister of Social

Affairs met with U.S. State Department’s Assistant Chief of Mission in Kabul, Donna Welton, and

informed her that the Afghan government had identified Baby Doe’s family.

          60.   On January 5, 2020, Ms. Welton wrote an email to the Deputy Minister stating:

“We stand ready to transfer custody of the infant following an official request from the Afghan

government. This is a high priority for our government and we would kindly request that the




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Ministry of Labor and Social Affairs expedite this official request so that the infant can be reunited

with her family members as soon as possible” (emphasis added).

        61.      In February 2020, Afghanistan’s Acting Minister of Labor and Social Affairs

informed the Director of Social Security within the Ministry of Labor and Social Affairs,

Directorate of            , that Baby Doe was to be “reintegrated into her family.”

        62.      Upon learning of Baby Doe’s impending release on February 26, 2020, to her

biological family in Afghanistan, the Masts filed a pseudonymous Complaint and Petition for a

Temporary Restraining Order (the “TRO Petition”) in this Court, the United States District Court

for the Western District of Virginia, naming as defendants the DoD, the U.S. Department of State

(the “DoS”), the Assistant Chief of Mission of the United States Embassy-Kabul, and various

unknown persons. Richard Mast’s signature block on the TRO Petition identifies his employer as

“Liberty Counsel.”

        63.      In the TRO Petition, the Masts sought to enjoin the United States government from

releasing Baby Doe from its custody to the Government of Afghanistan for reunification with her

biological family, relying on their fraudulently obtained Juvenile Court custody order as a basis

for this request.

        64.      Within hours of docketing the TRO Petition, U.S. District Judge Norman K. Moon

convened a hearing at which Richard Mast represented Joshua and Stephanie Mast, and the U.S.

Department of Justice (the “DOJ”) represented the DoD and the DoS.

        65.      During the hearing, Richard Mast falsely represented to the Court that Joshua and

Stephanie Mast were not seeking to adopt Baby Doe, but instead were interested only in bringing

her to the United States for the purposes of medical treatment. Having just represented Joshua and

Stephanie Mast in the Fluvanna Circuit Court to obtain an interlocutory order of adoption, Richard




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Mast knew that his representation to Judge Moon was false. So, too, did Joshua and Stephanie

Mast. Neither Joshua Mast, Stephanie Mast, nor Richard Mast informed this Court or the United

States government of the pending adoption proceedings.

       66.     For their part, the DOJ attorneys described the Juvenile Court custody order as

“unlawful,” “deeply flawed and incorrect,” and apprised Judge Moon that the Masts had failed to

serve the DoD and the DoS with notice of the custody proceedings.

       67.     The DOJ attorneys also advised Judge Moon that, while Baby Doe was in the

physical custody of the U.S. government to receive emergency medical care, she remained subject

to the jurisdiction of the Government of Afghanistan, which had “determined that it’s not going to

waive jurisdiction because it has located that relative.”

       68.     Furthermore, the DOJ attorneys noted that “if the United States had been involved

in th[e custody] proceeding as it should have been since it had custody . . . we would have been

able to correct some of the factual errors that were happening there.”

       69.     Unsurprisingly, Judge Moon denied the request for a TRO that same day, finding

that Joshua and Stephanie Mast were unlikely to prevail on the underlying cause of action. In so

doing, Judge Moon observed that: (a) the Juvenile Court orders were “foundational to plaintiffs’

asserted authority to care” for Baby Doe, but they “reflect an assumption” that the Government of

Afghanistan would issue a waiver of jurisdiction, which it did not do; (b) as custodian of Baby

Doe, the DoD “should have been formally served with and provided notice of the proceedings”;

and (c) the Masts had failed to “proceed through proper channels,” including obtaining the consent

of the Afghan government and obtaining a visa for Baby Doe to enter the United States.




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          70.   The next day, February 27, 2020, the DOJ filed a notice with the federal court

advising that Baby Doe had been released from U.S. custody for reunification with her “next of

kin.”

          71.   At that time, Baby Doe was placed in the care of her paternal uncle, John Doe’s

father.

          72.   Concerned that Baby Doe would require ongoing medical care, Baby Doe’s

paternal uncle transferred his guardianship of Baby Doe, pursuant to his authority under the laws

of Afghanistan, to his son and daughter-in-law, John and Jane Doe. Baby Doe’s paternal uncle

believed that John and Jane Doe were best suited to care for Baby Doe because they were a young,

educated couple who lived in a larger, more cosmopolitan area, with better access to doctors and

hospitals than the rural region of Afghanistan where he lived.

          73.   Though they themselves were young newlyweds who had not yet had biological

children, John and Jane Doe agreed to welcome Baby Doe into their family and raise her as their

own child.

          74.   John and Jane Doe provided everything for Baby Doe that a parent would provide,

including food, milk, diapers, and arranging medical care. Most importantly, they loved Baby Doe

like they would love their own biological child. After more than five months of living in a medical

institution on a military base, Baby Doe was finally surrounded by the love of a family, with

grandparents and young aunts and uncles who also adored her. Plaintiffs John and Jane Doe

continued to raise Baby Doe as their first child for eighteen months, until the very moment of her

abduction on September 3, 2021.

III.      DEFENDANTS LURED PLAINTIFFS TO THE UNITED STATES UNDER FALSE
          PRETENSES.

          A.    Joshua and Stephanie Mast engaged Kimberley Motley to locate and contact
                John and Jane Doe in Afghanistan under the guise of offering medical care for


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               Baby Doe in the United States, failing to disclose to the Does the custody and
               adoption orders the Masts had fraudulently obtained.

       75.     Having failed to prevent Baby Doe’s reunification with her biological family in

Afghanistan, and having failed thus far to obtain physical custody of Baby Doe, Joshua and

Stephanie Mast pursued a new strategy: convince Baby Doe’s family to let her travel to the United

States, where Joshua and Stephanie Mast could abduct her and raise her as their own child.

       76.     In the fall of 2019, Joshua Mast and Stephanie Mast reached out to Kimberley

Motley, a U.S. citizen and attorney who had worked in Afghanistan, to assist in their efforts to

bring Baby Doe to the United States. Joshua Mast identified himself as a U.S. Marine stationed in

Kabul who sought to remove Baby Doe from Afghanistan. He advised Motley that he and

Stephanie Mast intended to adopt Baby Doe.

       77.     Between October 25-27, 2019, Joshua Mast and Motley communicated numerous

times through emails and phone calls to share information about a shared desire to remove Baby

Doe from Afghanistan. In the course of their email exchange, Joshua Mast acknowledged that he

needed approval from the Government of Afghanistan to obtain a visa for Baby Doe to travel to

the United States.

       78.     Motley, who previously learned of Baby Doe through another U.S. servicemember

and was representing herself as a “guardian ad litem” for Baby Doe (despite there being no court

order naming her as such, and despite that Afghan law does not provide for “guardians ad litem”),

asked the Government of Afghanistan to secure citizenship documentation for Baby Doe as an

Afghan citizen, including a passport and “tashkira” (an Afghan identification document).

       79.     On February 27, 2020, the day the United States released Baby Doe to the Afghan

Government and the ICRC for reunification with her family, Joshua Mast advised Motley that he

needed help to “handle [Baby Doe’s] situation privately” by locating her relatives, contacting



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them, offering them medical care, and then bringing the child out of Afghanistan to the United

States, where the Masts had already successfully petitioned a Virginia Court for legal custody over

the child.

        80.    That same day, Joshua Mast provided Motley with a copy of an official diplomatic

communication from the Government of Afghanistan to an official with the U.S. Department of

Defense, formally requesting the return of Baby Doe to their physical custody for reunification

with her family in Afghanistan. By this time, Motley also had received a copy of the Masts’

Juvenile Court order, which she knew was void because it was expressly conditioned on a waiver

of jurisdiction from the Government of Afghanistan, and the diplomatic communication that Mast

sent her showed that the Government of Afghanistan was affirmatively asserting jurisdiction over

Baby Doe, not waiving it.

        81.    In addition, in spite of her prior recognition that Baby Doe was an Afghan citizen,

and her knowledge that the Government of Afghanistan had demanded her return for reunification

with her family and that the United States had agreed, Motley agreed to work with the Masts as

they implemented their plan.

        82.    Joshua Mast provided Motley with information he received about the identities of

the people to whom Baby Doe was transferred. Motley used this information to find a contact who

could connect her with John and Jane Doe.

        83.    On or about March 6, 2020, just days after Baby Doe was united with her family,

Motley called John Doe for the first time, pursuant to her agreement with, and at the direction of,

Joshua and Stephanie Mast.




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       84.     In their initial introductions to Motley in March 2020, John and Jane Doe described

themselves to Motley as Baby Doe’s “cousin,” and “the wife of [John Doe] and the mother of

[Baby Doe],” respectively.

       85.     In a subsequent conversation that same day, Motley advised Jane Doe that she

understood Baby Doe had serious medical issues and that Motley knew an American family who

wanted to help her. Pursuant to her agreement with Joshua and Stephanie Mast, Motley did not

disclose the Masts’ custody order and interlocutory adoption order for Baby Doe, and did not

disclose the Masts’ intention to adopt Baby Doe or that the Masts had initiated court proceedings

to do so.

       86.     Five days later, the Masts filed a brief relating to their rejected TRO Petition, but

did not disclose to the Court that they were in contact with John and Jane Doe through Motley or

that Baby Doe was with her biological family and legal guardians in Afghanistan.

       87.     On March 22, 2020, Joshua Mast wired a $4,500 payment to Motley via PayPal and

messaged her to confirm that she received the funds.

       88.     Motley continued to communicate with and befriend John and Jane Doe on behalf

of the Masts over the course of more than a year, making multiple offers to assist with Baby Doe’s

medical care and occasionally asking for photographs of Baby Doe. Motley did so at the direction

of Joshua and Stephanie Mast and received thousands of dollars to do so.

       89.     Motley also continued to hide the identity of the person or people purportedly

willing to help Baby Doe, or that Joshua and Stephanie Mast had obtained a custody order and an

interlocutory adoption order for Baby Doe.

       90.     On July 30, 2020, and in response to one of Motley’s requests for photos, Jane Doe

sent her photographs of Baby Doe in swim trunks in a small wading pool.




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       B.      The Masts made additional misrepresentations to the Circuit Court to obtain
               a Final Order of Adoption of Baby Doe.

       91.     At the same time Motley was communicating with and befriending John and Jane

Doe at the behest of Joshua and Stephanie Mast, the Masts continued pursuing a final order of

adoption in the Circuit Court.

       92.     The Masts did so despite knowing that: (a) Baby Doe was in the custody of

individuals determined by the Government of Afghanistan and ICRC to be her biological family

and legal guardians under the laws of Afghanistan; (b) Joshua and Stephanie Mast had not obtained

an order of custody or guardianship over Baby Doe in Afghanistan; (c) the Afghan government

had asserted jurisdiction over Baby Doe; (d) this Court, the United States District Court for the

Western District of Virginia, had characterized the Juvenile Court custody order as falsely

premised upon the existence of a waiver of jurisdiction by the Afghan government; and (e) the

DoD (Baby Doe’s former custodian and Joshua Mast’s employer) and the DoS (the agency that

oversees intercountry adoptions) regarded the state court orders as “unlawful.” Upon information

and belief, the Masts intentionally failed to advise the Circuit Court of any of these facts.

       93.     On December 3, 2020, nine months after Baby Doe had been reunited with her

family in Afghanistan, and as a direct result of the Masts’ omissions and misrepresentations, the

Circuit Court entered a final order of adoption for Joshua and Stephanie Mast, incorrectly finding

that Baby Doe “remains up to this point in time an orphaned, undocumented, stateless minor,” and

therefore “has the legal identity granted by order of this Court as constituting her sole legal

identity.” At the time of the order, neither Joshua and Stephanie Mast, Richard Mast, nor anyone

else had informed John Doe or Jane Doe of the pendency of those proceedings. Nor had anyone

informed the United States – despite this Court’s denial of Joshua and Stephanie Mast’s request

for a TRO, and despite Richard Mast’s express representation to this Court (in the presence of



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United States’ counsel) that Joshua and Stephanie Mast did not intend to adopt Baby Doe – that

Joshua and Stephanie Mast had in fact continued to pursue Baby Doe’s adoption.

          C.    With the assistance of Osmani and Motley, Joshua Mast built a fraudulent
                relationship of trust with John and Jane Doe, offering to help obtain medical
                care in the United States for Baby Doe but never disclosing the Fraudulent
                Custody and Adoption Orders.

          94.   After Joshua Mast met Ahmad Osmani in 2021 through a WhatsApp Bible study

group, Osmani offered to help Joshua and Stephanie Mast bring Baby Doe to the United States so

that they may raise her as their daughter.

          95.   On February 2, 2021, Stephanie Mast emailed Joshua Mast an altered photo of Baby

Doe for use in obtaining an Afghan passport for Baby Doe. The photo was nearly identical to the

photo of Baby Doe that Jane Doe sent to Kimberley Motley, see supra ¶ 90. However, the photo

that Stephanie Mast emailed to Joshua Mast had been altered to add a shirt, remove the background

content, and be reformatted as a passport photo. Joshua Mast forwarded Stephanie Mast’s email

and the altered photo to Ahmad Osmani to be conveyed to his contact in the Afghan passport

office.

          96.   In March 2021, Osmani assisted Joshua and Stephanie Mast in obtaining a fake

Afghan passport for Baby Doe. Joshua and Stephanie Mast wired more than $1,000 to Osmani,

who then wired those funds to a contact in Afghanistan to pay for the procurement of the fake

Afghan passport with a fake Americanized name that featured the Mast’s last name.

          97.   Osmani knew that Baby Doe was living with her biological family in Afghanistan.

In fact, during his first encounter with Osmani and Joshua Mast, John Doe told Osmani and Joshua

Mast that John Doe is Baby Doe’s cousin. Osmani even identified John Doe as the child’s cousin

in the contact information Osmani stored in his phone for John Doe.




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          98.    On July 10, 2021, Motley offered for the first time to introduce John and Jane Doe

to the American family supposedly interested in providing medical care for Baby Doe. Motley

then facilitated a telephone conversation between John and Jane Doe and Joshua Mast, during

which Ahmad Osmani provided interpretation. Mast told John and Jane Doe that he was familiar

with Baby Doe’s medical needs and warned them that, if Baby Doe did not receive medical care

in the United States, she could be blind, brain damaged, and/or permanently physically disabled.

In the course of their conversations, Mast claimed to be a volunteer in the U.S. military hospital

who was responsible for her care while she was hospitalized there.

          99.    John Doe, who trained as a nurse in Afghanistan, was not aware of the medical

issues that Mast described. But John and Jane Doe were concerned about the scarring on Baby

Doe’s face from the burns she sustained, Baby Doe’s irregular gait due to the leg injury she

sustained, and the severe allergic reactions of unknown origin that she seemed to periodically

suffer.

          100.   Mast insisted that Baby Doe would suffer serious, permanent harm if she were not

brought to the United States for special treatment. In that initial conversation and in other

subsequent conversations, Mast asked John and Jane Doe to send Baby Doe to the United States

for medical treatment. They declined because they did not want to be separated from their

daughter.

          101.   By July 2021, Jane Doe was in the third trimester of pregnancy and concerned about

traveling to the United States. As a result, John and Jane Doe asked Mast if he would be willing

to facilitate their taking Baby Doe to India or Pakistan for medical care, where he could pay doctors

or hospitals directly, without providing any money to John and Jane Doe. Mast declined, insisting

that hospitals in India and Pakistan did not have the specialists required to help Baby Doe.




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        102.    Over time and over the course of other telephone conversations and written

communications, Ahmad Osmani helped Joshua and Stephanie Mast foster a relationship of trust

with John and Jane Doe. Osmani also had conversations with the Does on other occasions in which

the Masts did not participate. Osmani routinely referred to John Doe as his “brother.” John and

Jane Doe trusted Osmani, an Afghan who spoke their native language, when he told them that the

Masts were trustworthy people with no ulterior motives who just wanted to help Baby Doe receive

medical care. Upon information and belief, Osmani maintained contact with John and Jane Doe

and reported back to Joshua Mast at his direction about his conversations with the Does.

Unbeknownst to John and Jane Doe, Osmani was not the impartial interpreter he made himself out

to be. Rather, Osmani knew that the Masts intended to take Baby Doe from her biological family,

and Osmani helped them do so.

        103.    Joshua Mast also repeatedly referred to John Doe as his “brother” and insisted he

only wanted to help Baby Doe obtain needed medical care. Based on the repeated warnings of

Joshua and Stephanie Mast about Baby Doe’s medical needs, and based on the repeated assurances

by Osmani that the Masts were honest people who just wanted to help Baby Doe, John and Jane

Doe began to fear that she would suffer long-term consequences if they did not obtain specialist

care for her.

        104.    Neither Joshua Mast, Stephanie Mast, Motley, nor Osmani disclosed to John and

Jane Doe at this time that the Masts had (unsuccessfully) filed a legal action in the United States

to prevent Baby Doe’s reunification with her biological family and legal guardians in Afghanistan,

or that the Masts had obtained an order of adoption for Baby Doe in a Virginia court. Instead,

Joshua and Stephanie Mast misrepresented that they wanted to bring Baby Doe to the United States

solely so that she could receive medical treatment and for the sake of doing something good.




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       D.      As Afghanistan fell to the Taliban, John and Jane Doe believed that they might
               never have another chance to obtain necessary medical care for Baby Doe.

       105.    In August 2021, as U.S. troops withdrew and the Taliban began to retake

Afghanistan, Joshua and Stephanie Mast again reached out to John and Jane Doe to convince them

to bring Baby Doe to the United States for medical treatment. Given the political situation in

Afghanistan and the Taliban’s advances, John and Jane Doe believed this could be their last and

only chance to obtain medical care for Baby Doe. As a result, they advised Joshua Mast that they

were considering his proposal, but were concerned that they would not be able to return to

Afghanistan.

       106.    Joshua Mast and Ahmad Osmani assured them that they would need to be in the

United States for Baby Doe’s medical care for only two or three months and that they would then

be able to re-enter Afghanistan without issue. Again, Joshua Mast and Ahmad Osmani failed to

inform John and Jane Doe about the adoption order he and his wife and brother had fraudulently

obtained from a Virginia court or their previous attempts to prevent Baby Doe from being reunited

with her biological family and legal guardians in Afghanistan. Rather, Mast and Osmani continued

to misrepresent that the Masts merely wanted to bring Baby Doe to the United States solely to

provide her with medical care.

       107.    In reliance on Joshua Mast’s misrepresentations regarding the purpose and duration

of their travel, as well as their ability to return to Afghanistan, ignorant of Mast’s and his wife’s

true intentions, and in reliance on Osmani’s reassurances, John and Jane Doe agreed to travel to

the United States for the purpose of obtaining medical care for Baby Doe.




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       E.      Joshua Mast and Richard Mast filed a fraudulent immigration application for
               John Doe and made false statements to USCIS, without John Doe’s knowledge
               or consent.

       108.    Joshua Mast informed John and Jane Doe that he would prepare immigration

paperwork for them and Baby Doe to permit them to enter the United States for the purpose and

duration of Baby Doe’s medical care.

       109.    In fact, Mast did not file the appropriate immigration paperwork for John and Jane

Doe and Baby Doe for the purpose of having them visit the United States for a short duration to

obtain medical care for Baby Doe. Instead, on August 20, 2021 and unbeknownst to John and

Jane Doe, Richard Mast emailed U.S. Citizenship and Immigration Services (“USCIS”) a Form I-

360 Petition for Plaintiff John Doe. Upon information and belief, the form was prepared at the

direction of Joshua and Stephanie Mast by Natalie Osmani, Ahmad Osmani’s wife. Ms. Osmani

signed the petition as its preparer, but listed Defendant Joshua Mast as the person acting on behalf

of the petitioner, and provided Mast’s North Carolina home address as a mailing address.

       110.    In addition, Ms. Osmani wrote by hand the following visa category: “Special

Immigrant Afghanistan national escorting military dependent.” Not only does no such visa

category exist, but it was false to claim that John Doe would be escorting a U.S. “military

dependent” when the United States had by this time represented to this Court that it did not

recognize any custodial relationship between Joshua Mast, Stephanie Mast and Baby Doe.

       111.    Upon information and belief, John and Jane Doe nonetheless were placed on a list

of potential evacuees with pending Special Immigrant Visa Applications as a result of the petition. 7




7
  On November 10, 2021, the USCIS mailed a Notice of Intent to deny the Petition to Joshua Mast
at his North Carolina address, with a response deadline of December 10, 2021. Mast never advised
John and Jane Doe of the Petition or the Notice of Intent to deny. John and Jane Doe learned these
facts only as a result of filing requests for personal records with USCIS.


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       112.   In his August 20, 2021, email to the USCIS, Richard Mast falsely wrote: “[John

and Jane Doe] are helping US DoD at great risk to themselves, and have cared for a minor DoD

dependent child ([Baby Doe]) who has serious medical needs.”

       113.   Of course, by then Baby Doe was not a “minor DoD dependent child,” because she

had been returned to her family in the exercise of the Government of Afghanistan’s jurisdiction.

Instead, John and Jane Doe were by then Baby Doe’s legal guardians, raising her as their own

child; they were not “caring” for her on behalf of Joshua and Stephanie Mast, the DoD, or anyone

else. Nor were they doing so as a “service to the US Government.”

       114.   In another email to USCIS seeking the evacuation of Ahmad Osmani’s siblings to

the United States, Richard Mast wrote that Osmani’s siblings were the “family of an Afghan

pastor” who had been “very instrumental to helping a US Marine” represented by Liberty Counsel

“adopt an Afghan child.” Upon information and belief, the reference to a “US Marine” is a

reference to Joshua Mast, and the reference to “an Afghan child” is a reference to Baby Doe.

       115.   John and Jane Doe were not aware of the misrepresentations being made by Richard

Mast, on behalf of Joshua and Stephanie Mast, about them and Baby Doe.

       116.   The Does traveled to Kabul on August 23, 2021, to spend the night there with

Osmani’s parents and siblings, at the direction of Joshua Mast and Osmani. The next morning,

the Does traveled to Hamid Karzai International Airport as part of the evacuation efforts under

Operation Allies Refuge. Osmani’s siblings accompanied them.

       117.   Between August 24 and August 26, 2021, Joshua Mast and Osmani continued to

communicate with John and Jane Doe over WhatsApp as they transited from Afghanistan to the

United States through Qatar and Germany.




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       118.    Again, Joshua Mast and Osmani failed to inform John and Jane Doe about the

adoption order that Joshua and Stephanie Mast had obtained from a Virginia court or their previous

attempts to prevent Baby Doe from being reunited with her biological family and legal guardians

in Afghanistan. Rather, they continued to misrepresent that the Masts wanted to bring Baby Doe

to the United States only to provide her with medical care.

       F.      Joshua Mast told John and Jane Doe he was their lawyer and facilitated their
               entry into the United States.

       119.    On August 26, 2021, as Plaintiffs were in transit to the United States, Joshua Mast

sent a WhatsApp voice note to Jane Doe, instructing her to tell anyone who asks that he was their

lawyer. He also sent her a text stating:

               If anyone asks to talk about your documents, show them this text: I
               am Major Joshua Mast, USMC. I am a Judge Advocate with
               MARSOC, and I am here at Ramstein to provide this group of 6 pax
               with their original documents and escort them through the process.
               MARSOC coordinated a JSOC operation to extract them to Kabul
               airport three days ago, and I am tracking them down for the above
               purpose.

       120.    At approximately the same time, Mast left John Doe a voice message, assuring him

he would get them to the United States, and stating:

               [I]f someone tries to talk about documents, we want to come and
               show them all the forms that we filed for you all to get to America
               instead of staying here in Germany. So before you talk to them
               about it, say “we have a lawyer here to talk with you about that for
               us” and that’s me. Just show them the text and have them call me.

       121.    When Plaintiffs landed at Ramstein Airforce Base in Germany, Joshua and

Stephanie Mast met them. During their brief stop in Germany, Joshua and Stephanie Mast visited

Plaintiffs’ room three times, repeatedly trying to convince John and Jane Doe to allow Baby Doe

to travel separately with the Masts, insisting that it would be easier for the toddler to enter the




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United States that way. John and Jane Doe repeatedly refused, as they did not want to leave Baby

Doe in anyone else’s care. Osmani provided interpretation over the telephone.

       122.    Before leaving Germany, John Doe informed Joshua and Stephanie Mast of a

promise John Doe had made to Jane Doe: that Baby Doe would never leave her side while they

were in the United States. There can be no doubt that Joshua and Stephanie Mast were aware that

John and Jane Doe understood they would have control over Baby Doe’s location and custody

while in the United States, and that they intended to continue to care for her as their daughter.

       123.    During a conversation in Germany, Jane Doe told Stephanie Mast that she could

not live without Baby Doe and that, given all that Baby Doe had been through, Baby Doe meant

even more to Jane Doe than her own yet-to-be-born child.

       124.    Again, the Masts and Osmani failed to fully inform John and Jane Doe about the

adoption order that the Masts obtained from a Virginia court or their previous attempts to prevent

Baby Doe from being reunited with her biological family and legal guardians in Afghanistan.

Rather, the Masts and Osmani continued to misrepresent that they only wanted to bring Baby Doe

to the United States to provide her with medical care.

       G.      Despite repeatedly representing to Virginia and federal courts that she was not
               Afghan and had no nationality, Joshua and Stephanie Mast used the Afghan
               passport they fraudulently obtained for Baby Doe, with Osmani’s assistance,
               to bring Baby Doe to the United States.

       125.    After several days of grueling travel, which were especially hard on Jane Doe, who

was eight months pregnant, the Does and the Osmani siblings arrived at Dulles International

Airport on August 29, 2021. Joshua Mast met the families while they waited in line for inspection,

pulled them out of the line, and took them directly to an inspecting officer. There, they presented

their identity documents.




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Joshua and Stephanie Mast, paid an Afghan government official to create a passport for a child

that Joshua Mast, Stephanie Mast, and Osmani claimed to the Circuit Court and this Court was not

Afghan. The fake Afghan passport also identified Baby Doe with a fake name: an American name

and the Mast’s last name.

         131.   John and Jane Doe were stunned to see that the name on the passport was “

Mast.”

         132.   When John and Jane Doe asked Joshua Mast why the name on the passport was

incorrect, he told them to keep quiet and that it was just to make it easier to get medical care for

Baby Doe.

         133.   After screening at the airport, Plaintiffs were paroled into the United States, which

permits them to lawfully remain in the United States through August 28, 2023. They ultimately

were transported to refugee housing at Fort Pickett, in Blackstone, Virginia, the location that

Joshua Mast instructed them to request.

         H.     Joshua and Stephanie Mast abducted Baby Doe.

         134.   Five days later, on September 3, 2021, John and Jane Doe were instructed that they

would be moving to another housing unit on the base. They were escorted to a van, in which a

woman sat in the last row with an infant car seat next to her. Baby Doe was placed in the infant

car seat.

         135.   But the Does were not transported to another housing unit on the base. Instead,

they were taken to a building where the woman in the car picked up Baby Doe and held her while

instructing John and Jane Doe to walk to the front of the building. There, they met another

unknown woman who later informed them she was a social worker from the DoS.

         136.   Inside the building, they were met by the social worker, a Pashto interpreter, and

the woman from the car, who continued to hold Baby Doe. The social worker then informed John


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and Jane Doe that they were not Baby Doe’s lawful guardians and that Joshua Mast had adopted

the child.

        137.   John and Jane Doe did not understand what “adoption” meant, as guardianship and

kinship care in Afghanistan are not understood in the same way as adoption in the U.S. legal

system. John and Jane Doe did understand, though, that Baby Doe would not be permitted to

return to their housing unit with them, but that Joshua Mast would be taking her with him.

        138.   When Joshua Mast entered the room, Jane Doe, who was more than eight months

pregnant, fell to the ground crying and begging for him not to take Baby Doe. The woman holding

Baby Doe removed her from the room, against John and Jane Doe’s objections, and gave her to

Stephanie Mast, who was waiting outside.

        139.   John Doe pleaded with Joshua Mast to act like the “brother” that he had promised

to be to them. Joshua Mast refused, leaving John and Jane Doe in tears as he and Stephanie Mast

abducted Baby Doe. John and Jane Doe have not seen their daughter since that day.

        I.     John and Jane Doe suffer severe emotional distress as a result of the trauma
               of having Baby Doe taken from them.

        140.   Bewildered and in despair, John and Jane Doe returned to their housing unit on the

base. The next day, they contacted Joshua Mast and asked why he had taken their child. Mast

responded that he had been instructed to pick up Baby Doe or she would be sent to an orphanage.

He did not say who instructed him or mention the adoption order he and his wife had fraudulently

obtained more than a year earlier.

        141.   In a conversation with Joshua Mast and Richard Mast approximately two weeks

later, Joshua Mast and Richard Mast again failed to disclose the adoption order, but instead told

the Does that they currently were not able to properly care for Baby Doe at Fort Pickett and were

not financially stable enough to provide for her. But, they told John and Jane Doe, after the Does



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leave the base, got jobs, and were financially stable, they would discuss Baby Doe’s status with

the Does. At no point during this conversation did either Joshua Mast or Richard Mast refer to

Baby Doe as the child of Joshua and Stephanie Mast or discuss the adoption order.

       142.    Over the next few weeks, John and Jane Doe attempted to maintain a connection

with Joshua Mast over WhatsApp, hoping that he might allow them to see Baby Doe. They

repeatedly begged him to allow them to see Baby Doe or at least speak with her, but he repeatedly

refused. At the same time, just one month after having abducted Baby Doe, Joshua Mast took her

to visit strangers at Liberty University so that they could meet her.

       143.    John and Jane Doe were afraid of Mast, as he appeared to have lied to numerous

government agencies about Baby Doe and gotten away with it. Mast abducted their child in broad

daylight but appeared to face no consequences. They were afraid of angering him, believing that,

if he could steal their child and get away with it, he could harm them, too.

       144.    Ahmad Osmani maintained frequent contact with the Does, who pleaded with him

to help them get their child back. But Osmani continued to manipulate the Does, telling them that

he wanted to help them when instead he was acting solely in furtherance of the Masts’ scheme to

abduct Baby Doe. For example, in the days after the abduction, the Does repeatedly asked Osmani

for help in retaining a lawyer or contacting other public officials in the United States for help in

getting their child back. But Osmani warned the Does that they must not seek legal help, that

lawyers will defraud them, that this issue must be resolved directly with the Masts and that,

regardless, no court would return the child to them because the court would see that the Masts had

more money than them. Upon information and belief, Osmani attempted to dissuade the Does

from seeking legal recourse at the direction of Joshua Mast, and reported his conversations back

to Joshua Mast.




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       145.      Even though he knew that the Masts now claimed to be Baby Doe’s adoptive

parents and that the Masts had no intention of returning the child to the Does, Osmani suggested

that if the Does kept in contact with the Masts, the Masts might be willing to return the child after

the Does left the military base.

       146.      John Doe continuously sought help from various agencies at Fort Pickett to help

retrieve Baby Doe. Eventually, on September 18, 2021, an interpreter on the base with whom John

and Jane Doe shared their story explained the meaning of “adoption” to them. This was the first

time John and Jane Doe understood that Joshua and Stephanie Mast had been lying to them all the

time and had no intention of returning Baby Doe to them.

       147.      As a direct result of the decline of Jane Doe’s mental health and the traumatic

experience of losing Baby Doe, John Doe was afraid to leave Jane Doe alone in their room. He

often asked other women in their building to keep an eye on her if he needed to be out of the room.

Despite being in the ninth month of her pregnancy, Jane Doe no longer wanted to eat or drink, and

she could not sleep. Both she and her husband were devastated and depressed.

       148.      Jane Doe delivered her baby on October 1, 2021. Unfortunately, despite the joy of

bringing a new child into this world, Jane Doe’s depression deepened as it became increasingly

clear that Joshua and Stephanie Mast would never voluntarily return Baby Doe to them. By

November 5, 2021, Jane Doe had become suicidal and was taken to the Stress Clinic on Fort Pickett

for treatment.

       149.      In November 2021, Jane Doe messaged Kimberley Motley to inform her that the

Masts, whom Motley had introduced to the Does, had abducted Baby Doe, and pleaded with

Motley to help her. Motley did not respond.




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       150.    As a direct result of Joshua and Stephanie Mast’s intentional and forcible removal

of Baby Doe, John and Jane Doe have been unable to exercise their parental rights as Baby Doe’s

biological family and legal guardians.

       151.    As a result of Joshua and Stephanie Mast’s intentional and outrageous conduct,

namely the abduction of Baby Doe in their presence, John and Jane Doe have experienced extreme

emotional distress.

       J.      John and Jane Doe petitioned to vacate the Adoption Order, and the United
               States confirmed that Baby Doe was not a “stateless minor” but under the
               jurisdiction of Afghanistan, and confirmed that the United States transferred
               physical custody of Baby Doe to Afghanistan in the Executive Branch’s
               exclusive authority over foreign affairs.

       152.    In December 2021, John and Jane Doe initiated proceedings in the Fluvanna Circuit

Court to vacate the Adoption Order. In March 2022, by order of the Circuit Court, John and Jane

Doe filed a new petition under a new case caption.

       153.    On August 22, 2022, the United States filed a 21-page Statement of Interest (the

“SOI”), with supporting declarations, pursuant to 28 U.S.C. § 517 (attached as Exh. 1). Consistent

with the positions taken by the United States before this Court in response to the Masts’ TRO

Petition, the SOI explicitly confirms the position of the United States that Baby Doe was not a

“stateless minor” but was instead an Afghan citizen subject to the jurisdiction of Afghanistan; that

the Government of Afghanistan never waived jurisdiction over her but, in fact, affirmatively

asserted jurisdiction over Baby Doe; and that, in the exercise of its exclusive authority over foreign

affairs, the United States transferred physical custody of Baby Doe to the Government of

Afghanistan so that she could be reunified with her family, as identified by the Afghan

government. The United States further took the position in the SOI that a state court cannot usurp

or contradict the decisions made by the United States with regard to foreign affairs.




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                                     CLAIMS FOR RELIEF

                                             COUNT I

               TORTIOUS INTERFERENCE WITH PARENTAL RIGHTS
                               (AGAINST ALL DEFENDANTS)
       154.    Plaintiffs repeat and re-allege all the allegations set forth in the foregoing

Paragraphs as if fully set forth and restated here.

       155.    As the biological family and legal guardians of Baby Doe, John and Jane Doe have

parental rights to and in their relationship with Baby Doe. The right of parents or guardians to

develop and to maintain a relationship with their child is a fundamental right recognized by the

United States Supreme Court and federal law. Further, the U.S. government recognized that the

Does’ parental and custodial rights to Baby Doe fell under the jurisdiction of Afghanistan and are

recognized under the laws of Afghanistan.

       156.    This Court concurred with the DOJ that sole jurisdiction over the custody of Baby

Doe was a matter for the courts and Government of Afghanistan, which had expressly asserted its

jurisdiction over Baby Doe.

       157.    Upon information and belief, each of the Defendants was aware that John and Jane

Doe were the lawful guardians of Baby Doe as determined by the Government of Afghanistan.

Each of the Defendants was aware John and Jane Doe had maintained physical custody of Baby

Doe.

       158.    Notwithstanding this knowledge, each of the Defendants intentionally and willfully

used improper, unethical and fraudulent means to preclude John and Jane Doe from continuing

their parental relationship with Baby Doe and interfered with their parental rights, permanently

depriving them of those rights.

       159.    Defendants’ actions as set forth above have resulted in the violation of these rights,

causing John and Jane Doe harm for which they seek compensation.


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         160.   Defendants are jointly and severally liable for the harm to Plaintiffs as articulated

above.

                                             COUNT II

                                  FRAUD
            (AGAINST DEFENDANTS JOSHUA AND STEPHANIE MAST AND
                           KIMBERLEY MOTLEY)

         161.   Plaintiffs repeat and re-allege all the allegations set forth in the foregoing

Paragraphs as if fully set forth and restated here.

         162.   Joshua and Stephanie Mast and Kimberley Motley intentionally made misleading

and false statements and/or material omissions to John and Jane Doe to perpetrate the abduction

of Baby Doe.

         163.   Joshua and Stephanie Mast engaged the services of Motley, who acted as their

agent, to, inter alia, contact John and Jane Doe and lure them into facilitating Baby Doe’s travel

to the United States, purportedly for the sole purpose of obtaining medical treatment for her,

through false and misleading statements and material omissions.

         164.   Upon information and belief, Joshua and Stephanie Mast, through their agent

Motley, procured the identities and location of John and Jane Doe, as well as photographs of Baby

Doe procured from John and Jane Doe via WhatsApp.

         165.   John and Jane Doe relied on Motley’s misrepresentations, which she made at the

direction of Joshua and Stephanie Mast, when they communicated with her, sent her photographs

of Baby Doe, and agreed to travel to the United States for what the Does thought was the sole

purpose of obtaining medical treatment for Baby Doe.

         166.   One of the photographs that Joshua and Stephanie Mast obtained from John and

Jane Doe through Motley, under false pretenses, was digitally altered to create the fraudulently

obtained identification documents used to bring Baby Doe into the United States.


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       167.    It was as a direct result of John and Jane Doe’s reliance on Joshua and Stephanie

Mast’s prevarications, made through Motley, that Joshua and Stephanie Mast were able to lure

Plaintiffs to the United States and unlawfully obtain physical custody of Baby Doe.

       168.    On July 10, 2021, as well as in subsequent conversations, Joshua and Stephanie

Mast, with the assistance of Motley, intentionally misrepresented to John and Jane Doe that their

sole intention was to procure medical assistance for Baby Doe, and that it was in the Does’ best

interest to send Baby Doe to the United States. Joshua and Stephanie Mast also intentionally

withheld from John and Jane Doe any information or notice of the court proceedings they had

initiated for Baby Doe in Virginia.

       169.    On August 26, 2021, and in furtherance of the Masts’ unlawful scheme to take Baby

Doe from John and Jane Doe, Joshua Mast represented to John and Jane Doe that he was their

attorney.

       170.    Shortly thereafter, while John and Jane Doe were in Germany awaiting their final

flights to the United States, Joshua and Stephanie Mast came to their room three times and again

made misrepresentations to them, reiterating that they wanted to take Baby Doe to the United

States for the sole purpose of obtaining medical treatment for her. Further, Joshua and Stephanie

Mast falsely stated that Baby Doe should travel with them, separately from the Does, because they

were simply trying to make it easier for Baby Doe to enter the United States. Instead, their true

intention was to unlawfully and permanently take physical custody of Baby Doe.

       171.    On September 3, 2021, Joshua Mast arranged for John and Jane Doe and Baby Doe

to be moved to another building at Fort Pickett and revealed to John and Jane Doe for the first time

that he had adopted Baby Doe. He then utilized this opportunity to remove Baby Doe from their

custody.




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       172.    John and Jane Does’ reasonable reliance on this pattern of deception allowed

Joshua and Stephanie Mast, through their agent Motley, to obtain the photographs necessary to

procure fraudulently obtained identification documents, travel permissions, and erroneously

granted custodial and adoption decisions necessary to effect this abduction.

       173.    As a result of repeated material misrepresentations by the Masts and Motley, John

and Jane Doe and Baby Doe traveled to the United States and subjected themselves to the

controlled environment of a military base that Joshua Mast manipulated to his advantage to abduct

Baby Doe in broad daylight.

       174.    In reliance on the representation that they were only traveling to the United States

for two to three months to obtain medical care for Baby Doe, after which they would return with

Baby Doe to Afghanistan, John and Jane Doe left their homeland, to which they cannot yet return,

and may never be able to return, because of the circumstances surrounding their departure.

Specifically, John and Jane Doe fear that the current Afghanistan government will be quick to

assume they are U.S. military collaborators — consequently, they fear they or their family will be

shunned or targeted by the government, or by others in their community.

       175.    Had John and Jane Doe been aware that the purpose of the communications initiated

by Joshua and Stephanie Mast and Motley was to facilitate the Masts’ abduction of Baby Doe,

they never would have communicated with Motley, shared photographs of Baby Doe, or traveled

to the United States at the behest of Joshua and Stephanie Mast.

       176.    Had John and Jane Doe been aware that Joshua and Stephanie Mast had

fraudulently obtained orders of custody and adoption for Baby Doe, they never would have

communicated with Motley, shared photographs of Baby Doe, or traveled to the United States at

the behest of Joshua and Stephanie Mast.




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       177.    Had John and Jane Doe been aware that Joshua and Stephanie Mast had filed an

action in a U.S. federal court to prevent Baby Doe’s reunification with her biological family and

legal guardians, they never would have communicated with Motley, shared photographs of Baby

Doe, or traveled to the United States at the behest of Joshua and Stephanie Mast.

       178.    John and Jane Doe have suffered and will continue to suffer what they regard as

the worst tragedy they have experienced, having their child unjustly ripped from their lives.

       179.    Accordingly, Joshua and Stephanie Mast and Motley are jointly and severally liable

for the harm suffered by Plaintiffs as articulated above.

                                        COUNT III
                                COMMON LAW CONSPIRACY
                                (AGAINST ALL DEFENDANTS)

       180.    Plaintiffs repeat and re-allege all the allegations set forth in the foregoing

Paragraphs as if fully set forth and restated here.

       181.    Each of the Defendants acted in concert, agreed, associated, mutually undertook

and combined together to intentionally and purposely commit the wrongful and tortious acts

against all of the Plaintiffs as set forth above. The concerted and purposeful actions of each

Defendant have denied John and Jane Doe their parental rights and wrongfully interfered with their

ability to establish and assert those rights; and denied Baby Doe her right to know and be raised in

the natural home of her biological family and legal guardians.

       182.    Each of the conspirators is fully responsible for the acts of each other. The total

effect of the conspiracy not only is tortious, but, indeed, also is a criminal act tantamount to child

abduction under §§ 18.2-47(a) and 18.2-49 of the Code of Virginia. The actions of the conspirators

violate federal statutes, laws and regulations of the Commonwealth of Virginia, and the laws of

Afghanistan.




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       183.    Each Defendant acted in furtherance of this conspiracy to defraud John and Jane

Doe and to abduct and unlawfully restrain Baby Doe.

       184.    Joshua and Stephanie Mast, inter alia, fraudulently induced John and Jane Doe,

through their agent Motley, to share photographs of Baby Doe, which they used to unlawfully

obtain an Afghan passport for Baby Doe without the knowledge or consent of her biological family

and legal guardians. Joshua and Stephanie Mast fraudulently misrepresented their intentions, both

directly and through their agent Motley and through Osmani, to John and Jane Doe when

persuading them to bring Baby Doe to the United States for the sole purpose of obtaining medical

treatment. Joshua and Stephanie Mast abducted Baby Doe and have continued to deprive John

and Jane Doe of any contact with her. Joshua and Stephanie Mast procured fraudulently obtained

documents to affect her abduction.

       185.    Richard Mast, inter alia, at the direction of and on behalf of Joshua and Stephanie

Mast, fraudulently misrepresented material facts, and made numerous omissions of fact, to

multiple courts to unlawfully obtain custody and adoption orders that would facilitate the

abduction by Joshua and Stephanie Mast of Baby Doe, as well material misrepresentations to this

Court and USCIS in furtherance of the same. He did so in violation of his ethical rules of

professional responsibility as an attorney licensed in the Commonwealth of Virginia. Richard Mast

and Joshua and Stephanie Mast knew these statements to be false and the omissions to be material.

       186.    Joshua and Stephanie Mast, through their agent Motley, and Osmani knowingly

made false representations to John and Jane Doe when persuading them to have Baby Doe travel

to the United States to obtain medical treatment.

       187.    As set forth above, the Defendants’ overt acts and omissions in furtherance of their

conspiracy have harmed and will continue to harm each Plaintiff.




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       188.    Accordingly, the Defendants are jointly and severally liable for the harm to

Plaintiffs as articulated above.

                                            COUNT IV

                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                         (AGAINST ALL DEFENDANTS)

       189.    Plaintiffs repeat and re-allege all the allegations set forth in the foregoing

Paragraphs as if fully set forth and restated here.

       190.    Since 2019, the conduct of Joshua and Stephanie Mast has shown a consistent

pattern of reckless disregard for the very real possibility of causing extreme emotional distress to

John and Jane Doe. As set forth above, the Masts conspired to separate Baby Doe unlawfully from

the only family she had ever known for the vast majority of her short life. It is implausible that

someone would be unaware of the extreme trauma that would be inflicted on parents when their

child is ripped from their arms by someone who had for months been claiming that all he wanted

was to help them.

       191.    As alleged above, the conduct of Joshua and Stephanie Mast was both deceitful and

criminal, violating the laws of Afghanistan, Virginia, and the United States. They were aware that

Baby Doe had been reunited with her biological family and legal guardians, and chose to conceal

this from Virginia state and federal courts. They continued to mispresent to the Virginia courts

that Baby Doe was a stateless, unaccompanied orphan. Neither the government of Afghanistan

nor the United States agreed with this determination. Nonetheless, to carry out their scheme,

Joshua and Stephanie Mast consistently violated laws meant to safeguard not only the wellbeing

of vulnerable children, but the foreign policy interests of the United States.




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       192.    Richard Mast knowingly furthered this scheme through his fraudulent in-court

misrepresentations, by procuring the custody and adoption orders for Joshua and Stephanie Mast,

and by submitting a deceptive immigration application for John Doe.

       193.    Joshua and Stephanie Mast, through their agent Motley, and Osmani knowingly

facilitated the plan to abduct Baby Doe by misrepresenting their intentions to John and Jane Doe

when persuading them to bring Baby Doe to the United States supposedly for the sole purpose of

obtaining medical treatment.

       194.    These actions would be considered extreme, outrageous, and intolerable by any

reasonable person.

       195.    As a direct result of the extreme, outrageous, and intolerable conduct of all

Defendants, Plaintiffs have suffered extreme emotional distress. The lives of all three Plaintiffs

have been forever altered in fundamental ways that no individual should be expected to endure.

       196.    Accordingly, Defendants are jointly and severally liable to Plaintiffs for all of their

harm suffered at the hands of the Defendants, as set forth above.

                                             COUNT V

                            FALSE IMPRISONMENT
              (AGAINST DEFENDANTS JOSHUA AND STEPHANIE MAST)

       197.    Plaintiffs repeat and re-allege all the allegations set forth in the foregoing

Paragraphs as if fully set forth and restated here.

       198.    On September 3, 2021, Joshua Mast physically removed Baby Doe from the

custody of her lawful guardians without their permission or consent, restricting her movement and

confining her to the care of himself and Stephanie Mast.

       199.    Since September 3, 2021, Joshua and Stephanie Mast have continued to keep Baby

Doe captive, without the permission or consent of her lawful guardians.



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       200.    On September 3, 2021, Baby Doe began crying when the woman assisting Joshua

Mast would not return her to Jane Doe, indicating Baby Doe’s awareness of this restraint. John

and Jane Doe, in their capacity as Baby Doe’s legal guardians, were and are aware of and

vehemently opposed to this unlawful restraint.

       201.    As a result of this unlawful restraint, Baby Doe, John Doe and Jane Doe have been

injured by this family separation since September 3, 2021.

       202.    Accordingly, Joshua and Stephanie Mast are jointly and severally liable to Plaintiffs

for all of the harm they have endured, as set forth above.

                                    RELIEF REQUESTED

       WHEREFORE, Plaintiffs pray for relief and judgment against Defendants including:

       a.      Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, a declaration that:

               (i)     under the Supremacy Clause of the United States Constitution, the decisions
               of the United States to recognize Baby Doe’s legal status as an Afghan citizen, and
               to recognize the Government of Afghanistan’s jurisdiction over her, are binding
               and cannot be overridden or contradicted by a state court;

               (ii)   at the time that Joshua and Stephanie Mast obtained a custody order for her
               from the Juvenile Court, Baby Doe was not “stateless,” but was an Afghan citizen;

               (iii)    at the time that Joshua and Stephanie Mast obtained an adoption order for
               her from the Circuit Court, Baby Doe was not “stateless,” but was an Afghan
               citizen;

               (iv)    the Government of Afghanistan never waived jurisdiction over Baby Doe
               for the purpose of her custody or adoption by Joshua and Stephanie Mast in the
               United States;

               (v)    Baby Doe had no connection, let alone a significant connection, to the
               Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained a
               custody order for her from the Juvenile Court;

               (vi)   Baby Doe had no connection, let alone a significant connection, to the
               Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained an
               adoption order for her from the Circuit Court;




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        (vii) neither Baby Doe’s biological parents, nor Jane and John Doe, had a
        significant connection with the Commonwealth of Virginia at the time that Joshua
        and Stephanie Mast obtained a custody order for her from the Juvenile Court;

        (viii) at the time that Joshua and Stephanie Mast obtained the custody order for
        Baby Doe, she was in the physical custody of the United States military in
        Afghanistan and, therefore, was beyond the jurisdiction of the Juvenile Court or
        any court of this Commonwealth of Virginia;

        (ix)   at the time that Joshua and Stephanie Mast obtained an adoption order for
        her from the Circuit Court, Baby Doe was not living in their home but was in
        Afghanistan;

        (x)     under the Supremacy Clause of the United States Constitution, the decision
        of the United States to exercise its foreign affairs powers by allowing Baby Doe’s
        transfer to the Government of Afghanistan for family reunification supersedes and
        nullifies any conflicting state court action;

        (xi)    under the Supremacy Clause of the United States Constitution, a state court
        lacks authority to override the Executive Branch’s foreign policy decision to allow
        Baby Doe’s transfer to the Government of Afghanistan for family reunification;
        and

        (xii) the decision of the United States to transfer Baby Doe to the Government
        of Afghanistan for family reunification was an exercise of the Executive’s foreign
        affairs power that is binding on state courts.

   b.   John Doe seeks ten million dollars ($10,000,000) in compensatory damages, jointly
        and severally, against each of the named Defendants for the harm set forth in the
        causes of action stated above;

   c.   Jane Doe seeks ten million dollars ($10,000,000) in compensatory damages, jointly
        and severally, against each of the named Defendants for the harm set forth in the
        causes of action stated above;

   d.   Baby Doe seeks ten million dollars ($10,000,000) in compensatory damages,
        jointly and severally, against each of the named Defendants for the harm set forth
        in the causes of action stated above;

   e.   John Doe, Jane Doe, and Baby Doe each seek five million dollars ($5,000,000) in
        punitive damages or the maximum allowed under Virginia law against each of the
        Defendants for their wrongful actions as set forth above;

   f.   Pre- and post-judgment interest on all such sums, in the amount allowed by law;

   g.   All costs of Court that Plaintiffs have incurred as a result of this matter; and

   h.   Any further relief this Court deems just and proper.


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                                    JURY DEMAND

   Plaintiffs demand a jury trial on all triable issues within this Complaint.




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Dated: October 28, 2022            Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 28th day of October 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

to all CM/ECF participants.



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